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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 10, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-331
EVAN NEUMANN, : VIOLATIONS:
: 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 115(a)(1)(B) (Influencing,
Impeding, or Retaliating Against a Federal
Official)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is, J.M., who was an officer for the Metropolitan Police Department, and S.L., who
was an officer for the United States Capitol Police, lawfully engaged in the lawful performance of
their official duties incident to and during the commission of a civil disorder which in any way and
degree obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, J.M., who
was an officer for the Metropolitan Police Department, and S.L., who was an officer for the United
States Capitol Police, while such persons were engaged in and on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the
victims and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of

the United States, and of any branch of the United States Government (including any member of
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the uniformed services), and any person assisting such an officer and employee, that is, J.M., who
was an officer for the Metropolitan Police Department, and S.L., who was an officer for the United
States Capitol Police, while such persons were engaged in and on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the
victims and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is, R.L., who was an officer for the Metropolitan Police Department, lawfully
engaged in the lawful performance of his/her official duties incident to and during the commission
of a civil disorder which in any way and degree obstructed, delayed, and adversely affected
commerce and the movement of any article and commodity in commerce and the conduct and
performance of any federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT FIVE
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, R.L., who

was an officer for the Metropolitan Police Department, while such person was engaged in and on
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account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is, J.C., who was an officer for the Metropolitan Police Department, lawfully engaged
in the lawful performance of his/her official duties incident to and during the commission of a civil
disorder which in any way and degree obstructed, delayed, and adversely affected commerce and
the movement of any article and commodity in commerce and the conduct and performance of any
federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, J.C., an
officer from the Metropolitan Police Department, while such person was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT EIGHT
On or about January 6, 2021, within the District of Columbia and elsewhere, EVAN
NEUMANN, did threaten to murder United States officials, that is members of Congress, with
intent to impede, intimidate, and interfere with members of Congress while they were engaged in
the performance of their official duties, and with intent to retaliate against members of Congress
on account of the performance of their official duties.

(Influencing Federal Official By Threat, in violation of Title 18, United States Code,
Sections 115(a)(1)(B))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN, did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT TEN

On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN, did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT THIRTEEN
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
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COUNT FOURTEEN
On or about January 6, 2021, within the District of Columbia, EVAN NEUMANN,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.
Mabou, Cates. ioe

Attorney of the United States in
and for the District of Columbia.
